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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA                                        §
                                                                §
v.                                                              §      No. 3:22-CR-378-N
                                                                §
RAYNALDO RIVERA ORTIZ, JR.                                      §


                            MOTION TO WITHDRAWAL FILING

          Pursuant to LCrR 49.2 (a), comes now Defendant RAYNALDO RIVERA ORTIZ, JR., by

counsel, requests to withdrawal his filing, and in support presents:

          1.    Counsel for the defense filed a Brief to the Court, see Dkt. No. 186, on October 18,

2024. The defense filed this Brief in error as it was a rough draft of the intended pleading. Counsel

did not realize he had filed the rough draft rather than the final pleading until the afternoon of

October 21, 2024.

          2.    Counsel for the defense corrected its brief with Dkt. No. 189, Sealed

Brief/Memorandum. Therefore, the defense moves to have Dkt. No. 186 withdrawn from the

record.

          3.    The ends of justice would be better served if this motion is granted.

          WHEREFORE, undersigned counsel respectfully requests the Brief to the Court filed

October 18, 2024, be withdrawn.

                                                        Respectfully submitted,

                                                        JASON D. HAWKINS
                                                        Federal Public Defender
                                                        Northern District of Texas

                                                        s/ John M. Nicholson
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                                                    JOHN M. NICHOLSON
                                                    Assistant Federal Public Defender
                                                    Texas Bar No. 24013240
                                                    525 Griffin Street, Suite 629
                                                    Dallas, Texas 75202
                                                    Phone (214) 767.2746
                                                    Fax (214) 767.2776
                                                    john_nicholson@fd.org



                                     CERTIFICATE OF SERVICE

       I certify that on October 21, 2024, I electronically filed the foregoing document using the

Court’s CM/ECF system, thereby providing service on attorneys of record.


                                                    /s/ John M. Nicholson _________
                                                    JOHN M. NICHOLSON




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